Case 6:18-bk-06821-KSJ Doc185_ Filed 09/30/19 Page 1of15

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
www.flmb.uscourts.gov
In re: Case No. 6:18-bk-06821-CCJ
Chapter 7
Don Karl Juravin

Debtor.
/

CHAPTER 7 TRUSTEE’S MOTION FOR RELIEF FROM ORDER CONVERTING
CASE FROM CHAPTER 7 TO CHAPTER 11 AND TO CONDITION TURNOVER OF
PROPERTY ON PAYMENT OF ADMINISTRATIVE EXPENSES

Dennis Kennedy, as Chapter 7 Trustee of the Estate of Don Karl Juravin, through counsel,
moves for relief from the Court’s Order Converting Case from Chapter 7 to Chapter 11 (the
“Conversion Order”) (Doc. No. 174) and to condition turnover of property on payment of
administrative expenses, and in support, states:

SUMMARY OF ARGUMENT

This bankruptcy case has been pending since October 31, 2018, when the Debtor filed his
voluntary petition under Chapter 7 which has now been converted to Chapter 11. While
responsible for administering this estate, the Chapter 7 Trustee, Dennis Kennedy, has recovered
funds totaling $148,956.77. The Trustee also negotiated and filed a motion to approve a sale of
estate assets for $35,000, which motion was pending at the time of the conversion. The Debtor’s
conversion to Chapter 11 was filed nearly one year into this case, and right at the expiration of the
deadline to object to that sale.

The Debtor is not a typical individual Debtor in this District. He lives in a home valued at

$1,450,000.00, he owns multiple businesses, and he had a judgment entered against him in the

amount of $24,246,000.00 in favor of the Federal Trade Commission (“FTC”), The FTC has filed
Case 6:18-bk-06821-KSJ Doc185 Filed 09/30/19 Page 2 of 15

an adversary proceeding to except its debt from discharge. In light of the huge claim by the FTC
it is unlikely the Debtor could ever confirm a plan of reorganization.

Furthermore, while the case was in Chapter 7, the Trustee engaged professionals, including
his counsel, Winderweedle, Haines, Ward and Woodman, P.A. (““WHWW”), and a forensic
accounting expert, Yip Associates, to assist him in analyzing the Debtor’s financial affairs, seeking
various discovery, recovering the assets which the Trustee has recovered to date, and obtaining
financial data to assist the Trustee in pursuing additional assets. The information obtained to date
reveals that the Debtor or his businesses have been involved in transactions utilizing over 47
separate accounts at various financial institutions over the six years prior to filing the petition. The
Trustee, through his counsel, has issued subpoenas to 17 financial institutions, and to other
professionals who have worked for the Debtor.

The Trustee, through his counsel, files this motion to request that this Court authorize the
Trustee and his professionals to seek payment of their significant administrative claims in the case
from the funds the Trustee has on hand, rather than requiring the turnover of those funds, and to
otherwise place conditions on the Debtor’s use of the funds to ensure that the valid administrative
claims of the Trustee and his professionals are not diluted or eliminated during the Chapter 11
case.

FACTUAL AND PROCEDURAL BACKGROUND

1. On October 31, 2018, Don Karl Juravin (the “Debtor’’) filed a voluntary petition
under Chapter 7 of the Bankruptcy Code. (Doc. No. 1.) The Debtor was initially represented by
Denise Dell-Powell at Burr & Forman LLP.

2, On January 16, 2019, the Debtor filed amended schedules and an amended

statement of financial affairs. (Doc. No. 17.)
Case 6:18-bk-06821-KSJ Doc185 Filed 09/30/19 Page 3of15

3. On his schedules, among other things, the Debtor listed 9 financial accounts and
his 100% ownership interest in the following entities: Must Cure Obesity, Co.; Juravin,
Incorporated; and Roca Labs Nutraceutical USA, Inc. The Debtor’s unsecured creditors include
the Internal Revenue Service, which is listed with a claim of $111,000.00 for “business debt” and
the Federal Trade Commission (the “FTC”), which is listed with a claim of $25,246,000.00 for
“business debt” due to a “pending lawsuit” and a “judgment against Debtor related to business
activities.” The Debtor’s debts are primarily business debts.

4. The FTC’s judgment was entered by the Middle District of Florida against the
Debtor and his related companies, Must Cure Obesity, Co., Juravin, Inc., Roca Labs Nutraceuticals
USA, Inc., Roca Labs, Inc., among others, for their misleading and deceptive business practices.
In connection with the FTC’s lawsuit, the FTC investigated certain assets of the Debtor and his
related companies, and the Middle District of Florida entered an order freezing some of those
assets,

5, On or about November 4, 2018, Dennis Kennedy was appointed chapter 7 trustee
(the “Trustee”). (Doc. No. 4.)

6. On December 21, 2018, the Trustee moved to employ the undersigned counsel as
attorney for the Trustee, and on January 2, 2019, the Court granted that motion. (Doc. Nos. 9 &
12.) .

7. The Trustee’s counsel reviewed and analyzed filings in the FTC lawsuit, as many
of the papers and court orders filed therein contained information about the assets of the Debtor
and his related companies. The Trustee’s counsel also had multiple phone conversations with
counsel for the FTC regarding the extent of and results of the FTC’s investigation into the Debtor’s

and his companies’ financial affairs.
Case 6:18-bk-06821-KSJ Doc185 Filed 09/30/19 Page 4of15

8. The initial § 341 meeting of creditors was held on December 4, 2018. Due to the
complex nature of the Debtor’s financial affairs, certain disputes regarding the turnover of the
Debtor’s documents, and the Debtor’s change of counsel, as further described herein, the § 341
meeting of creditors has been held and continued several times: on January 15, 2019; February 12,
2019; March 12, 2019; April 9, 2019; May 7, 2019; May 21, 2019; June 4, 2019; June 18, 2019;
July 2, 2019; July 16, 2019; July 30, 2019; August 13, 2019; and August 27, 2019.

9. Accordingly, at the time the Conversion Order was entered, the § 341 meeting of
creditors had not yet been concluded.

10. _—‘In order to hold a meaningful § 341 meeting and to determine whether any basis
existed to file a § 727 complaint objecting to discharge, the Trustee repeatedly requested that the
Debtor provide certain documentation and records relating to the financial affairs of the Debtor
and his companies over the past 6 years. Throughout this case, the Trustee and its counsel have
repeatedly endeavored to obtain the requested records from the Debtor. As of the entry of the
Conversion Order, the Debtor provided some, but not all, of those records,

11. — At the continued § 341 meeting on February 12, 2019, the Trustee requested the
Debtor provide a sworn statement that he had disclosed to the Trustee all financial accounts in
which he and his companies had an interest in the 6 years prior to the petition date. The Debtor
agreed to do so without objection. A proposed affidavit was provided to the Debtor on February 21,
2019. Since then, the Trustee and its counsel have repeatedly sought to obtain this affidavit from
the Debtor to no avail.

12. As a result of the Debtor’s failure to provide the requested records, the Trustee
moved for an extension of the deadline to file a § 727 complaint objecting to the discharge on four

separate occasions.
Case 6:18-bk-06821-KSJ Doc185 Filed 09/30/19 Page 5of15

13. On January 17, 2019, the Trustee moved to employ the firm of Ewald Auctions,
Inc., to conduct an appraisal of the Estate’s tangible personal property located at the Debtor’s
residence, which motion was granted by the Court on January 18, 2019. (Doc. No. 19, 22.) The
Trustee and its counsel then repeatedly sought to have an appraisal of the estate’s property at the
Debtor’s residence. Finally, an inspection was conducted on or about June 10, 2019.

14, On February 15, 2019, the Trustee moved to employ the firm of Yip Associates as
forensic accountants (the “Forensic Accountants”) due to complex nature of the Debtor’s financial
affairs. (Doc. No. 50.) That motion was granted on February 21, 2019. (Doc. No. 53.)

15, | The Forensic Accountants reviewed the bank statements for the Debtor and his
businesses and prepared a comprehensive database including over 8,700 transactions. This
database was used to assist the Trustee and his counsel in determining the flow of funds between
the Debtor and his businesses and identify potential fraudulent transfers to third parties. Upon
review of the Debtor’s financial records, the Forensic Accountants discovered potential preference
targets as well as significant funds being transferred overseas, including to bank accounts in Israel.
Based on the findings of the Middle District in the FTC Judgment, and the identification of funds
being transferred to unknown overseas accounts, the Forensic Accountants thoroughly reviewed
the Debtor’s bank and brokerage account activity. The Forensic Accounts also reviewed the
personal credit card statements of the Debtor. The Debtor made approximately $2 million dollars
in payments to Facebook, Google, Yahoo and Microsoft from these personal credit card accounts
for advertising the Debtor’s business weight loss “regimen”. These payments were analyzed and
ultimately quantified.

16. Based on the Forensic Accountants’ analyses of certain financial documents, the

Trustee has learned that the Debtor and his interrelated companies have used at least 47 separate
Case 6:18-bk-06821-KSJ Doc185 _ Filed 09/30/19 Page 6of15

financial accounts over the past 6 years. The Trustee issued subpoenas to 17 financial institutions
for the financial records of the Debtor and his companies. The Trustee received responses to most
of those subpoenas, and the Forensic Accountants performed analyses of those financial records.
Additionally, the Forensic Accountants and the Trustee’s counsel have engaged in multiple phone
conferences and an in-person meeting to discuss the complex nature of the Debtor’s financial
affairs and results of the Forensic Accountants’ analysis.

17, On February 21, 2019, the Trustee issued subpoenas for the production of
documents pursuant to Federal Rule of Bankruptcy Procedure 2004 to three separate attorneys who
represented the Debtor and his companies in the last 6 years. The Attorneys did not initially
produce a single document in response to the Subpoenas, nor did they produce privilege logs. April
Goodwin, Esq. served an objection to the Subpoena on March 18, 2019, and Andrew Hill, Esq.
and Glenn Reid, Esq. did not respond to their respective subpoenas.

18. On February 21, 2019, the Trustee also issued subpoenas (Doc. Nos. 57-58) for the
production of documents pursuant to Federal Rule of Bankruptcy Procedure 2004 to two separate
accounting firms (collectively the “Accountants’), believed to have performed work for the Debtor
and his interrelated companies in the last 6 years.

19. On March 12, 2019, the Debtor filed separate, written objections to the issuance of
the subpoenas to the Accountants and attorneys. (Doc. Nos. 69 & 72.) As a result, the Trustee,
through counsel, filed separate, detailed written responses on April 8, 2019 (the “Discovery
Dispute”). (Doc. Nos. 85 & 86.)

20. A hearing was scheduled on the Discovery Dispute on April 9, 2019. However, on
April 8, 2019, Burr & Forman LLP moved to continue the hearing because, as of April 8, 2019,

Debtor’s counsel, Ms. Dell-Powell, was no longer associated with Burr & Forman LLP, and the
Case 6:18-bk-06821-KSJ Doc185 Filed 09/30/19 Page 7 of 15

Debtor had not elected whether to have Burr & Forman continue the representation. As a result,
the Trustee’s counsel attended the hearing on the Discovery Dispute on April 9, 2019; however,
that hearing was continued until April 16, 2019. On April 16, 2019, the Trustee’s counsel again
attended a hearing on the Discovery Dispute. That hearing was again continued, until June 11,
2019. Thus, on three separate occasions, the Trustee’s counsel attended a hearing on the Discovery
Dispute and was required to prepare to argue its position to the Court.

21. On June 1, 2019, the Debtor’s current counsel, Mr. Bartolone, filed his notice of
appearance. The Trustee and his counsel repeatedly communicated with Mr. Bartolone about
obtaining the outstanding documents requested from the Debtor and the financial affidavit the
Debtor previously agreed to provide, and scheduling the personal property inspection which had
not be coordinated with Debtor and his prior counsel. As noted previously, the personal property
inspection eventually occurred in mid-June. The Debtor took the position that Burr & Forman,
LLP had possession of the requested documents and refused to turn those documents over. Even
on the date the Conversion Order was entered, the Trustee still had not received all the requested
documents from the Debtor, despite repeatedly attempting to obtain those documents.

22. After the inspection of the estate’s personal property at the Debtor’s residence in
June 2019, the Trustee engaged in negotiations with both the Debtor and certain creditors and
interested parties regarding the potential buy-back and sale of that property. Eventually, on or
about August 21, 2019, the Trustee entered into an Agreement Regarding Sale of Property pursuant
to which the Trustee sought to sell certain property of the estate for the sum of $35,000.00 to
creditors of the estate.

23. On August 23, 2019, the Trustee filed his motion to seek Court approval of the

Agreement Regarding Sale of Property. The next business day after filing the Motion, the Debtor,
Case 6:18-bk-06821-KSJ Doc185 _ Filed 09/30/19 Page 8 of 15

though his counsel, offered $35,001.00 for the property which the Trustee was attempting to sell.
Discussions were had regarding setting procedures for an auction to be conducted, so that both
parties could bid on the assets.

24. The Trustee was also in discussions with counsel for certain creditors to be retained
as special counsel to pursue avoidance actions and other potential claims for the benefit of the
estate, on a contingency fee basis.

25. Then, on September 13, 2019, just prior to the deadline to object to the Sale, the
Debtor filed an objection to the Motion to Approve Sale of Property and filed his Motion to
Convert Case to Chapter 11. The Court immediately granted the Motion to Convert the Case to
Chapter 11, and on September 16, 2019, the Conversion Order was entered.

26. Through its investigation, as of September 16, 2019, the Trustee has recovered a

total of $148,956.77 for the estate (the “Assets of the Estate”). That amount breaks down as

follows:

a. Payment of $16,000.00 credit held by Mercedes Benz of Tampa for the benefit of
the Debtor;

b. Payment of $3,180.81 from TD Ameritrade account;

c. Payment of $90,641.46 from separate TD Ameritrade account;

d. Payment of $4,293.50 from Citibank, N.A. account;

e. Payment of $27,409.00 from JPMorgan Chase as a result of cashier’s check payable
to Debtor and held by Glenn Reid, Esq.;

f. Payment of $7,432.00 from TD Bank as a result of cashier’s check payable to
Debtor and held by Glenn Reid, Esq.

24. | However, the bankruptcy estate has incurred substantial expenses in conducting its

duties and investigating the financial affairs of the Debtor. The Trustee’s commission on the funds

on hand equals $10,697.84. Admittedly, the Trustee has not “disbursed” the funds, but he would
Case 6:18-bk-06821-KSJ Doc185 Filed 09/30/19 Page 9of15

be entitled to compensation for his time on a quantum meruit basis. Additionally, WHWW has
incurred fees and expenses of approximately $125,000.00, and Yip Associates has incurred fees
and expenses of over $47,000.00. Both WHWW and Yip Associates will file fee applications
asserting their claims under 503(b) and 507(a)(2).

25. The Trustee now moves this Court to reconsider the Conversion Order, to the extent
that it converts this case from chapter 7 to chapter 11 without first providing for payment of the
estate’s administrative expenses to date, including the Trustee’s fees, fees incurred by the Forensic
Accountants, and fees incurred by the Trustee’s counsel. Alternatively, the Trustee moves for an
order conditioning return of the Assets of the Estate to the Debtor on payment of the estate’s
administrative fees.

MEMORANDUM OF LAW

26. The case was converted from a case under Chapter 7 to a case under Chapter 11 by
motion filed by the Debtor under 11 U.S.C. § 706(a). The Court, sua sponte, issued its Order
Converting the Case. (Doc. No. 174.) However, the right to convert a case from Chapter 7 is not
necessarily absolute. See Maramma vy. Citizens Bank, 127 S. Ct. 1105 (2007). In fact, the Eleventh
Circuit has held that a debtor’s lack of good faith can constitute “cause” for dismissal of a Chapter
11 case, which would preclude conversion from a Chapter 7 case under § 706(d). Daughtrey v.
Rivera (In re Daughtrey), 896 F. 3d 1255 (11th Cir. 2018).

27. In this case, there could be a sufficient basis to deny conversion under the authority
of Maramma and Daughtrey.' Additionally, if the Debtor fails to comply with the requirements of

Chapter 11, this case could be subject to dismissal or re-conversion.

 

' Therefore, this motion could be alternatively considered a motion to reconsider the conversion order pursuant to Fed.
R. Bankr. P. 9024 and Fed. R. Civ. P. 60.
Case 6:18-bk-06821-KSJ Doc185 _ Filed 09/30/19 Page 10 of 15

28. Pursuant to § 348(e), conversion of the case terminates the services of Dennis
Kennedy, the Trustee.

29, The Trustee should be entitled to seek compensation for his efforts under a quantum
meruit basis for the time and hours he spent administering this case for nearly a year,

30. The professionals hired by the Trustee in this case, WHWW and Yip Associates,
have incurred substantial time and expense in assisting the Trustee in recovering assets for the
estate and investigating the financial affairs of the Debtor.

31. The fees and costs of the Trustee and his professionals should be entitled to
administrative claims pursuant to § 503(b).

32. The Trustee has in his possession funds in the amount of $148,956.77.

33. The Trustee and his professionals intend to file applications for payment of the
administrative expenses incurred. The amount in total is expected to exceed the $148,956.77.

34. If the Trustee was compelled to turnover the funds to the Debtor, under the
circumstances there is no assurance that the Debtor will comply with the requirements of the
Conversion Order and the other requirements of Chapter 11 such that the case will not be re-
converted or dismissed. Moreover, there is no assurance that the funds will not be used during the
Chapter 11 and dissipated, such that there would be insufficient funds to pay the existing known
administrative claims of the Chapter 7 Trustee and WHWW and Yip Associates.

35. To the extent that the Conversion Order requires the ‘Trustee to turn over the
$148,956.77 he has on hand, the Trustee seeks relief from the Conversion Order pursuant to F. R.
Civ. P. 60(b)(6), as “any other reason that justifies relief.” The Trustee requests that the Court not
require turnover of any funds until the Court makes a ruling on the administrative claims asserted

by the Trustee, WHWW, and Yip Associates, and then condition the turnover of funds, if any,

10
Case 6:18-bk-06821-KSJ Doc185_ Filed 09/30/19 Page 11 of 15

upon interim payment of the administrative claims. To the extent the administrative claims exceed
the amount of the funds, the Trustee and the professionals should have an allowed administrative
claim for any balance that was not paid.

WHEREFORE, the Trustee respectfully requests that the Court grant this Motion, and enter
an order which conditions the turnover of any funds from the Trustee upon payment of the
administrative claims of Dennis Kennedy, the Chapter 7 Trustee, Winderweedle, Haines, Ward &
Woodman, P.A., and Yip Associates, and for such other and further relief as is just and proper

under the circumstances of this case.

Dated: September 30, 2019. /s/ Bradley M. Saxton
Bradley M. Saxton, Esquire
Florida Bar No. 0855995
bsaxton@whww.com
Lauren M. Reynolds, Esquire
Florida Bar No. 112141
Lreynolds@whww.com
Winderweedle, Haines, Ward

& Woodman, P.A.

Post Office Box 880
Winter Park, FL 32790-0880
(407) 423-4246
(407) 645-3728 (facsimile)
Attorneys for Dennis D. Kennedy, Trustee

11
Case 6:18-bk-06821-KSJ Doc185_ Filed 09/30/19 Page 12 of 15

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on September 30, 2019, a true copy of the foregoing has been
sent via:

Electronic Transmission to:

United States Trustee, George C. Young Federal Bldg., 400 W. Washington Street, Suite 1100,
Orlando, FL 32801

Dennis D. Kennedy, Trustee, P. O. Box 541848, Merritt Island, FL 32954

Aldo G. Bartolone, Jr., Esq., Bartolone Law, PLLC, 1030 N. Orange Avenue, Suite 300,
Orlando, FL 32814

United States Mail to:
Don Karl Juravin, 15118 Pendio Drive, Montverde, FL 34756

All Creditors and Parties in Interest listed on the mailing matrix attached to the original of this
Motion.

/s/ Bradley M. Saxton
Bradley M. Saxton, Esquire

12
Case 6:18-bk-06821-KSJ Doc 185 _ Filed 09/30/19

Label Matrix for local noticing
113A-6

Case 6:18-bk-06821-CC7

Middle District of Florida
Orlando

Mon Sep 30 18:28:00 EDT 2019

Robert H Ewald

Ewald Enterprises, Inc.
12472 Lake Underhill Road
Suite 312

Orlando, FL 32828-7144

Hal Levenberg

Yip Associates

One Biscayne Tower

2 8, Biscayne Boulevard, Suite 2690
Miami, FL 33131-1815

Anna Juravin
15118 Pendio Drive
Montverde, FL 34756-3606

Ben-Zvi Law Firm
23 Bar-Cochva
Bnei-Brak, Israel

Consumer Opinion Corp. -
c/o Randazza Legal Group
2764 Lake Sahara Drive, Suite 109
Las Vegas, NV 89117-3400

(p) FEDERAL TRADE COMMISSION

ASSOCIATE DIRECTOR

DIVISION OF ENFORCEMENT

600 PENNSYLVANIA AVE NW MAIL DROP NJ-2122
WASEINGTON DC 20580-0001

Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346

Karan Arora -
12815 NW 45th Avenue
Opa Locka, FL 33054-5100

Mercedez-Benz Financial
PO Box 961
Roanoke, TX 76262-0961

Bella Collina Property Owner’s Associat
c/o Becker & Poliakoff

100 Whetstone Place

Suite 302

Saint Augustine, FL 32086-5775

Don Karl Juravin
15118 Pendio Drive
Montverde, FL 34756-3606

Mercedes-Benz Financial Services USA LLC
c/o Ed Gezel

Bk Servicing, LLC

PO Box 131265

Roseville, MN 55113-0011

Bella Collina Property Owner’s Associat
c/o William C Matthews, Esq,

Shutts & Bowen LLP

300 §. Orange Avenue, Suite 1600
Orlando, FL 32801-3382

Carl H. Settlemyer, III, Esq.
Federal Trade Commission

600 Pennsylvania Avenue NW
Mail Drop CC-10528
Washington, DC 20580-0001

DCS Real Estate Investments, LLC
c/o David M, Landis, Esq,

PO Box 2854

Orlando, FL 32802-2854

Florida Department of Revenue
Bankruptcy Unit

Post Office Box 6668
Tallahassee FL 32314-6668

Julia Kalatusha
32 Borochov
Tel Aviv, Israel

Lake County Tax Collector
Attn; Bob McKee

Post Office Box 327
Tavares FL 32778-0327

Must Cure Obesity Co.
15118 Pendio Drive
Montverde, FL 34756-3606

Page 13 of 15

DCS Real Estate Investments, LLC
636 U.S. Hwhy One

Suite 100

North Palm Beach, FL 33408-4611

Dennis D, Kennedy
Post Office Box 541848
Merritt Island, FL 32954-1848

Saxton
PO Box 880
Winter Park, FL 32790-0880

Bella Collina Property Owners Assoc Inc,
c/o Aegis Community Mgmt Solutions, Inc.
8390 Championsgate Blvd,, Suite 304
Championsgate, FL 33896-8313

Citibank, N.A, -
701 East 60th Street North
Sioux Falls, SD 57104-0493

Dr. Free
11 Walnut Street, #12350
Green Cove Springs, FL 32043

Internal Revenue Service
Centralized Insolvency Operation
Post Office Box 7346
Philadelphia, PA 19101-7346

Juvarin, Inc,
P, 0, Box 560510
Montverde, FL 34756-0510

Mercedes-Benz Financial
P, 0. Box 961
Roanoke, TX 76262-0961

Noam Ben Zvi
10/93 Rishon Lezion Street
Petachtiachba, Israel
Case 6:18-bk-06821-KSJ Doc 185 _ Filed 09/30/19

Opinion Corp, ~

c/o Randazza Legal Group

2764 Lake Sahara Drive, Suite 109
Las Vegas, NV 89117-3400

Secretary of the Treasury
15th & Pennsylvania Ave,, NW
Washington, DC 20220-0001

United States Attorney
300 North Hogan St Suite 700
Jacksonville, FL 32202-4204

Bradley M Saxton +

Winderweedle, Haines, Ward & Woodman, PA
329 Park Avenue North, Second Floor
Winter Park, FL 32789-7421

United States Trustee - ORL7/13 +
Office of the United States Trustee
George C Young Federal Building

400 West Washington Street, Suite 1100
Orlando, FL 32801-2210

Marc J Randazza +

Randazza Legal Group

2764 Lake Sahara Drive, Suite 109
Las Vegas, NV 89117-3400

PSR Developers, LLLP -
3900 Centennial Drive
Suite ¢

Midland, MI 48642-5996

Shay Zuckerman
8 Babli Street
Tel Aviv, Israel

Zuckerman & Co,
c/o Shay Zuckerman
HaYarkon St, 113
Tel Aviv, Israel

Robyn Marie Severs +

Becker & Poliakoff

111 N. Orange Avenue, Suite 1400
Orlando, FL 32801-2324

Aldo G Bartolone Jr +

Bartolone Law, PLLC

1030 North Orange Avenue, Suite 300
Orlando, FL 32801-1004

William C Matthews +

Shutts & Bowen LLP

300 South Orange Avenue, Suite 1600
Orlando, FL 32801-3382

Page 14 of 15

Paul B. Spelman, sq.
Federal Trade Commission
600 Pennsylvania Avenue NW
Mail Drop CC-10528
Washington, DC 20580-0001

U.S, Securities and Exchange Commission
Office of Reorganization

950 Rast Paces Ferry Road, N.E,

Suite 900.

Atlanta, GA 30326-1382

David M Landis +
Mateer & Harbert PA
Post Office Box 2854
Orlando, FL 32802-2854

Miriam G Suarez +

Office of the United States Trustee
George C. Young Federal Building

400 West Washington Street, Suite 1100
Orlando, FL 32801-2210

Lauren M Reynolds +

Winderweedle Haines Ward and Woodman PA
329 North Park Avenue

Winter Park, FL 32789-7421

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.8,C, 342(£) and Fed.R.Bank.P. 2002 (g) (4),

Federal Trade Commission -
600 Pennsylvania Avenue NW
Mail Crop CC-10528
Washington, DC 20580

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address,

(u) Consumer Opinion Corp.

(u) Opinion Corp,

(d)Florida Dept. of Revenue
Bankruptcy Unit

P.0, Box 6668

Tallahassee, FL 32314-6668
Case 6:18-bk-06821-KSJ Doc 185 _ Filed 09/30/19

 

(d) Internal Revenue Service (d)Mercedes-Benz Financial

Post Office Box 7346 PO Box 961

Philadelphia PA 19101-7346 Roanoke, TX 76262-0961

(u)Note: Entries with a ‘+’ at the end of the End of Label Matrix

name have an email address on file in CMECF Mailable recipients 46
Bypassed recipients 7

Note: Entries with a ‘-’ at the end of the Total 53

name have filed a claim in this case

Page 15 of 15

(ujCynthia C, Jackson +
Orlando
